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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

JOHN SMITH, KIRBY BRADSHAW, SPENCER No. C 07-6298 MHP
LUCAS, et al.,

Plaintiffs ,
vs.

CITY OF GAKLAND, a municipal coporation,
WAYNE TUCKER, in his capacity as Chief of Police
for the City of Oakland, MAYER, individually and in
his capacity as a police officer for the City of Oakland,

 

et al.,
Defendants. No. C 07-4179 MHP
/ .
JUDGMENT
DAVID WARD, MARK ENGRAM, MICHAEL ' PURSUANT TO
HOLMES, RICHARD RIX, et al., RULE 54(b),
Fed. R. Civ. P.
Plaintiffs,

VS.

CITY OF OAKLAND, a municipal corporation;
WAYNE TUCKER, in his capacity as Chief of Police
for the City of Oakland, RICHARD VASS,
individually and in his capacity as a police officer for
the City of Oakland, et al.,

Defendants.

United States District Court

For the Northem D'Lstrict of Califomia

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These actions were jointly tried by Judge Marilyn Hall Patel without a jury and the
following decisions were entered:

C 07-6298 MHP

IT IS ORDERED AND ADJUDGED that plaintiff KIRBY BRADSHAW recover of
defendants CITY OF OAKLAND and INGO MAYER the amount of 3100,025.00 as and for
actual damages and of defendant INGO MAYER the amount of $15,000.00 as and for punitive
damages, along with costs of action.

IT IS ORDERED AND ADJUDGED that plaintiff SPENCER LUCAS recover of
defendants CITY OF OAKLAND and INGO MAYER the amount of $105,025.00 as and for
actual damages and of defendant INGO MAYER the amount of $25,000.00 as and for punitive

damages, along with costs of action.

C 07-417 9 MHP

IT IS ORDERED AND ADJUDGED that plaintiffs MARK ENGRAM, MICHAEL
HOLMES and RICHARD RIX recover nothing from defendants CITY OF OAKLAND and
RICHARD VASS and this action is DISMISSED on the merits as to these plaintiffs and the

defendants CITY OF OAKLAND and RICHARD VASS recover costs from these plaintiffs

The judgments in these two actions as to the above-named parties are entered pursuant to
Federal Rule of Civil Procedure 54(b), the court finding there is no just reason for delay, the

other parties in these two actions whose claims have not been adjudicated remain pending for

United States District Court

For the Northem District of Califo mia

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adjudication Those claims involve different facts, incidents and officers and require separate
motions, trials or other adjudication procedures

The stipulation for a proposed order to extend the time for entry of judgment as to the
claims of the above-named plaintiffs in action C 07-6298 is DENIED.

The stipulation for an extension of time to file a motion for attorneys’ fees in C 07-6298

is GRANTED and such motion shall be filed on or before January 30, 2012.

Dated: November 15, 2011

 

